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                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                           ____________


No. 25-5037                                                      September Term, 2024
                                                                               1:25-cv-00412-RC
                                                        Filed On: March 18, 2025 [2106298]
Cathy A. Harris, in her personal capacity
and in her official capacity as Member of
the Merit Systems Protection Board,

                   Appellee

         v.

Scott Bessent, in his official capacity as
Secretary of the Treasury, et al.,

                   Appellants


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Consolidated with 25-5055

         BEFORE:           Circuit Judges Henderson, Millett, and Walker


                         COURTROOM MINUTES OF ORAL ARGUMENT

PROCLAMATION BEING MADE, the Court opened on Tuesday, March 18, 2025 at
9:34 a.m. The cause was heard as case No. 1 of 1 and argued before the Court by:

       Eric D. McArthur, counsel for Appellants.
       Nathaniel A.G. Zelinksky, counsel for Appellee.


                                                               FOR THE COURT:
                                                               Clifton B. Cislak, Clerk

                                                       BY:     /s/
                                                               Jaime T. Stratton
                                                               Deputy Clerk
